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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                             Case No.: 22-CV-22538-ALTMAN/Reid

  Dominik Karnas, et al., on behalf of themselves and
  all others similarly situated,

         Plaintiffs,
  v.

  Mark Cuban, et al.,

         Defendants.
                                                        /

                               PLAINTIFFS’ NOTICE OF FILING
         Plaintiffs hereby give notice of filing the executed signature page of Defendant Victor Olapido
  (“Oladipo”) in connection to Plaintiffs Motion for Preliminary Approval of First Tranche of
  Settlements, Provisional Certification of Proposed Settlement Class, and Approval of the Proposed
  Schedule [ECF No. 279] which was filed on May 3rd, 2024. See as Exhibit A


  Dated: May 8, 2024                                    Respectfully submitted,
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                                        CERTIFICATE OF SERVICE
          I hereby certify that a true and correct copy of the forgoing was filed on May 8, 2024, via the
  Court’s CM/ECF system, which will send notification of such filing to all attorneys of record.



                                                          By: /s/ Adam M. Moskowitz______
                                                                  ADAM M. MOSKOWITZ
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